978 F.2d 1254
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas James BISHOP, Plaintiff-Appellant,v.James H. DUNNING, Sheriff, Alexandria Office of Sheriff;Anne Wright, Nurse, Alexandria Office of Sheriff,Defendants-Appellees.
    No. 92-6908.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 28, 1992Decided:  October 27, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-91-832-A)
      Thomas James Bishop, Appellant Pro Se.
      Jack L. Gould, Fairfax, Virginia, for Appellees.
      E.D.Va.
      Affirmed.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Thomas James Bishop appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Bishop v. Dunning, No. CA-91-832-A (E.D. Va.  Aug. 19, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We hereby deny Bishop's Motion for Appointment of Counsel
      
    
    